    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82              Filed
                                                        Filed 08/01/24
                                                              09/03/24    Page
                                                                          Page 56
                                                                               1 ofof12
                                                                                      104




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 IRENE CHABAK, ARMANDO                               )
 CARRASCO, RANDY POLK, KELLY                         )
 WILSON, THOMAS BOOTH HARRIS,                        )
 SCOTT WEISCOPE, LAVINA                              ) Case No.: 7:22-cv-9341-PMH
 HENDERSON, JEREMY HENDERSON,                        )
 and RAYCINE SOMMERS, individually
                                                     )
 and on behalf of all others similarly situated,
                                                     )
      Plaintiffs,                                    )
                                                     )
    v.                                               )
                                                     )
 SOMNIA INC., ANESTHESIA SERVICES                    )
 OF SAN JOAQUIN P.C., PALM SPRINGS                   )
 ANESTHESIA SERVICES P.C.,                           )
 RESOURCE ANESTHESIOLOGY                             )
 ASSOCIATES OF IL P.C., RESOURCE                     )
 ANESTHESIOLOGY ASSOCIATION OF                       )
 NM INC., and ANESTHESIA                             )
 ASSOCIATES OF EL PASO, P.A.,
                                                     )
                                                     )
      Defendants.
                                                     )

            [PROPOSED] ORDER GRANTING MOTION FOR PRELIMINARY
                  APPROVAL OF CLASS ACTION SETTLEMENT

         This matter is before the Court on Plaintiffs’ motion for preliminary approval of the

proposed class action settlement (the “Motion”) of the above-captioned case (the “Action”)

between Plaintiffs Irene Chabak, Armando Carrasco, Randy Polk, Kelly Wilson, Thomas Booth

Harris, Scott Weiscope, Lavina Henderson, Jeremy Henderson, and Raycine Sommers,

individually and on behalf of the Class and California Subclass (solely as to Ms. Sommers, Ms.

Wilson, and Mr. Harris), and Defendants Somnia, Inc., Anesthesia Services of San Joaquin P.C.,

Palm Springs Anesthesia Services P.C., Resource Anesthesiology Associates of IL P.C., Resource


                                            Page 1
    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82                  Filed
                                                            Filed 08/01/24
                                                                  09/03/24     Page
                                                                               Page 57
                                                                                    2 ofof12
                                                                                           104




Anesthesiology Association of NM Inc., and Anesthesia Associates of El Paso, P.A.

(“Defendants”) as set forth in the Parties’ Class Action Settlement Agreement and Release (the

“Agreement,” which memorializes the “Settlement”). Having duly considered the Settlement,

including the proposed forms of notice and other exhibits thereto, the Motion, and the papers and

arguments in connection therewith, and good cause having been shown, THE COURT HEREBY

FINDS AND ORDERS AS FOLLOWS:

       1.      The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332(d) and has personal jurisdiction over the Parties.

       2.      Unless defined herein, all defined terms in this Order shall have the meanings

ascribed to them in the Agreement.

       3.      The Motion is GRANTED.

       4.      The Court hereby preliminarily approves the Settlement and the terms embodied

therein pursuant to Fed. R. Civ. P. 23(e)(1). The Court finds that it will likely be able to approve

the Settlement under Fed. R. Civ. P. 23(e)(2) and to finally certify the Class and the California

Subclass for purposes of judgment pursuant to the Settlement.

       5.      The Court further finds that Plaintiffs and Class Counsel have adequately

represented, and will continue to adequately represent, the Class and the California Subclass. The

Court further finds that the Settlement is procedurally fair, the product of arm’s length negotiations

and comes after nearly two years of litigation and initial discovery, and a detailed investigation.

       6.      The Court preliminarily finds that the Settlement relief provided—a $2,425,000

non-reversionary settlement fund—is fair, reasonable, and adequate taking into account, inter alia,

the costs, risks, and delay of further litigation, trial and appeal, the alleged harm to the Class and

the California Subclass, the proposed method of distributing payments to the Class and the



                                               Page 2
    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82                 Filed
                                                           Filed 08/01/24
                                                                 09/03/24      Page
                                                                               Page 58
                                                                                    3 ofof12
                                                                                           104




California Subclass, and the absence of any agreement required to be identified under Rule

23(e)(3).

       7.      The Court further preliminarily finds that the Settlement is substantively fair and

treats the Class and the California Subclass equitably relative to each other. The Settlement

provides for payments to Claimants who can demonstrate that they suffered an Out-of-Pocket Loss

that is plausibly traceable to the Security Incident and provides pro-rata shares to Californians and

non-Californians accounting for the fact that Californians brought claims under the California

Confidentiality of Medical Information Act, which includes statutory damages. The Court will

assess Class Counsel’s request for attorneys’ fees and expenses after receiving a motion from Class

Counsel supporting such request. At this stage, the Court finds that the plan to request fees and

litigation expenses creates no reason not to grant the Motion and direct notice to the Class and the

California Subclass.

       8.      The Court hereby finds that it is likely to certify under Fed. R. Civ. P. 23(a),

23(b)(3), and 23(e), for settlement purposes only, a “Class,” consisting of:

               All natural persons residing in the United States whose Personal
               Information was compromised in the Security Incident.

And a “California Subclass” consisting of:

               All natural persons residing in California whose Personal
               Information was compromised in the Security Incident.

       9.      Excluded from the Class and California Subclass are: (1) the Judge presiding over

the Action, and members of his family; (2) Defendants, their subsidiaries, parent companies,

successors, predecessors, and any entity in which Defendants or their parents have a controlling

interest and their current or former officers and directors; (3) Persons who properly execute and

submit a request for exclusion prior to the expiration of the Opt-Out Period; and (4) the successors

or assigns of any such excluded Persons.

                                               Page 3
    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82               Filed
                                                         Filed 08/01/24
                                                               09/03/24     Page
                                                                            Page 59
                                                                                 4 ofof12
                                                                                        104




       10.     The Court preliminary finds that, for settlement purposes only, the Class and

California Subclass, as defined above, is likely to meet the requirements for class certification

under Fed. R. Civ. P. 23(a) and 23(b)(3)—namely, that (a) the Class Members and California

Subclass Members are sufficiently numerous such that joinder is impracticable; (b) there are

common questions of law and fact; (c) Plaintiffs’ claims are typical of those of the Class Members

and California Subclass Members; (d) Plaintiffs and Class Counsel have adequately represented,

and will continue to adequately represent, the interests of the Class Members and California

Subclass Members; and (e) for purposes of settlement, the Class and California Subclass meet the

predominance and superiority requirements of Fed. R. Civ. P. 23(b)(3).

       11.     Certification of the Class and California Subclass shall be solely for settlement

purposes and without prejudice to the Parties in the event the Settlement is not finally approved

by this Court or otherwise does not take effect. The Parties preserve all rights and defenses

regarding class certification in the event the Settlement is not finally approved by this Court or

otherwise does not take effect.

       12.     The Court hereby designates Plaintiffs Irene Chabak, Armando Carrasco, Randy

Polk, Kelly Wilson, Thomas Booth Harris, Scott Weiscope, Lavina Henderson, Jeremy Henderson,

and Raycine Sommers as Class Representatives for the Class. The Court hereby designates

Raycine Sommers, Kelly Wilson, Randy Polk, and Thomas Booth Harris as Subclass

Representatives for the California Subclass.

       13.     The Court hereby designates Lieff Cabraser Heimann & Bernstein, LLP and

Finkelstein, Blankinship, Frei-Pearson & Garber LLP as Class Counsel for the Class and California

Subclass.




                                               Page 4
    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82                 Filed
                                                           Filed 08/01/24
                                                                 09/03/24      Page
                                                                               Page 60
                                                                                    5 ofof12
                                                                                           104




       14.     The Court hereby appoints Angeion Group, LLC (“Angeion”) as the Claims

Administrator for the Settlement and directs Angeion to carry out all the duties and responsibilities

of the Claims Administrator as specified in the Settlement and herein.

Notice Plan

       15.     Pursuant to Fed. R. Civ. P. 23(e)(1) and 23(c)(2)(B), the Court approves the

proposed notice and procedures set forth at Section 9 of the Agreement, including the form and

content of the proposed forms of notice to the Settlement Class attached as Exhibits B-D to the

Settlement, the proposed procedures for any Class Members and California Subclass to exclude

themselves from the Class and California Subclass, and the proposed procedures for the Class and

California Subclass to object to the Settlement.

       16.     The Court finds that the proposed notice plan—which includes (i) direct postcard

notice, (ii) emailed notice, and (iii) establishing a Settlement Website at the web address of

www.somniasettlement.com, where Class Members and California Subclass Members can view

the full Agreement, the detailed long-form notice, and other key case documents—meets the

requirements of due process under the United States Constitution and of Rule 23, and constitutes

the best notice that is practicable under the circumstances, including by providing individual notice

to all members who can be identified through reasonable effort. The Court further finds that the

proposed form and content of the notices as set forth in Exhibits B-D are adequate and will give

the Class Members and California Subclass Members sufficient information to enable them to

make informed decisions as to the Settlement, including whether to object and whether to opt out.

The Court finds that the notices clearly and concisely state in plain, easily understood language,

inter alia: (a) the nature of the case; (b) the definition Class and the California Subclass; (c) the

class claims and issues; (d) that the Court will exclude from the Class and California Subclass any

Class member or California Subclass Member who timely and validly requests exclusion; (e) the

                                               Page 5
    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82                 Filed
                                                           Filed 08/01/24
                                                                 09/03/24   Page
                                                                            Page 61
                                                                                 6 ofof12
                                                                                        104




time and manner for requesting such exclusion; and (f) the binding effect of a class judgment on

Settlement Class Members under Rule 23(c)(3).

        17.    The Court hereby directs the Parties and the Claims Administrator to implement

the notice plan as set forth in the Settlement.

        18.    In compliance with the Class Action Fairness Act of 2005, 28 U.S.C. § 1715,

Defendants shall promptly provide written notice of the proposed Settlement to the appropriate

authorities.

        19.    No later than thirty (30) days after entry of this Order (the “Settlement Notice

Date”), the Claims Administrator shall substantially complete the Direct Mail Notice and Email

Notice via first class mail and email to Class Members and California Subclass Members. In the

event that any Notices are returned as non-deliverable, the Claim Administrator shall promptly re-

mail and/or re-email any Notices that are returned as non-deliverable with a forwarding address to

such forwarding address.

        20.    No later than the Settlement Notice Date, the Claims Administrator shall maintain

and administer a dedicated Settlement Website related to the Settlement.
                            twenty-three (23)
      21.     No later than sixteen (16) calendar days prior to the Final Approval Hearing, the

Claims Administrator shall serve on counsel for all Parties a declaration stating that the Notice

required by the Agreement has been completed in accordance with the terms of the Preliminary

Approval Order, and that the CAFA Notice was served. The Claims Administrator shall likewise

provide Defendants and Class Counsel with a final list of persons who submitted timely and valid

requests for exclusion from the Class and California Subclass.

Claims Process

        22.    Class Members and California Subclass Members shall be permitted to share in the

Settlement Fund paid by Defendants only after completing and submitting a Claim Form consistent

                                                  Page 6
    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82                Filed
                                                          Filed 08/01/24
                                                                09/03/24      Page
                                                                              Page 62
                                                                                   7 ofof12
                                                                                          104




with the form set forth in Exhibit E to the Claims Administrator pursuant to the procedures outlined

in Section 10 of the Agreement. As set forth in the Agreement, the Claims Administrator shall

have discretion to allow Class Members and California Subclass who submit Claim Forms with

missing or errant information additional time to correct the errors and to re-submit the Claim Forms

and/or Reasonable Documentation to the Claims Administrator, after being apprised of the need

to do so by the Claims Administrator.

Opt-Out and Objection Procedures

       23.     Class Members and California Subclass Members who wish to either object to the

Settlement or request to be excluded from it must do so by the Objection Deadline and Opt-Out
            12/2/2024
Deadline of ______, which are both sixty (60) calendar days after the Settlement Notice Date.

Class Members and California Subclass may not both object and opt out. If a Class Member or

California Subclass Member submits both a request for exclusion and an objection, the Request

for Exclusion will be controlling.

       24.     To submit a request for exclusion (or opt-out), Class Members and California

Subclass Members must follow the directions in the Notice and send a compliant request to the

Claims Administrator at the address designated in the Class Notice by the Opt-Out Deadline. In

the request for exclusion, the Class Member or California Subclass Member must state his, her, or

their full name, address, telephone number, and the telephone number he, she, or they wishes to

be contacted at and must state in writing that he, she, or they wishes to be excluded from the

Settlement. No Class Member or California Subclass Member, or any person acting on behalf of

or in concert or participation with that Class Member, may exclude any other Class Member or

California Subclass Member from the Class or California Subclass.

       25.     If a timely and valid request for exclusion is made by a member of the Class or

California Subclass, then that person will not be a Class Member or California Subclass Member,

                                              Page 7
    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82                 Filed
                                                           Filed 08/01/24
                                                                 09/03/24      Page
                                                                               Page 63
                                                                                    8 ofof12
                                                                                           104




and the Agreement and any determinations and judgments concerning it will not bind the excluded

person.

          26.   All Class Members and California Subclass Members who do not elect to opt out

in accordance with the terms set forth in the Agreement will be bound by all determinations and

judgments concerning the Agreement.

          27.   To object to the Settlement, Class Members and California Subclass Members must

follow the directions in the Class Notice and file a written Objection with the Court by the

Objection Deadline. In the written Objection, the Settlement Class Member or California Subclass

Member must state: (1) his, her, or their full name, address, email address, and telephone number

where he, she, or they may be contacted; (2) all grounds for the objection with specific legal and

factual support; (3) the identity of any witnesses he, she, or they may call to testify; (4) copies of

any exhibits that he, she, or they intends to introduce into evidence at the Final Approval Hearing;

(5) a statement of the identity (including name, address, law firm, phone number and email) of any

lawyer who will be representing the individual with respect to any objection; (6) a statement of

whether he, she, or they intends to appear at the Final Approval Hearing with or without counsel;

and (7) a statement as to whether the objection applies only to the objector, a specific subset of the

Class or California Subclass, or the entire Class or California Subclass (or both classes). Such

objection must be filed with the Court with a postmark date on or before the Objection Deadline.

Any documents that the Class Member or California Subclass Member wishes the Court to

consider must also be attached to the Objection. No Objection will be valid unless all of the

information described above is included.




                                               Page 8
    Case
      Case
         7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                               Document
                                      79-1
                                        82                 Filed
                                                           Filed 08/01/24
                                                                 09/03/24   Page
                                                                            Page 64
                                                                                 9 ofof12
                                                                                        104




       28.     The right to object to this Settlement must be exercised individually by an

individual Class Member or California Subclass, not by the act of another person acting or

purporting to act in a representative capacity.

       29.     Any Class Member or California Subclass Member who has timely filed an

Objection may appear at the Final Approval Hearing, either in person or through an attorney hired

at Class Member’s or California Subclass Member’s own expense, to object to the fairness,

reasonableness, or adequacy of this Agreement or the Settlement.

       30.     Any Class Member or California Subclass Member who fails to timely file a written

objection with the Court and notice of his, her, or their intent to appear at the Final Approval

Hearing in accordance with the terms of this Order, above and as detailed in the Notice, shall not

be permitted to object to the Agreement at the Final Approval Hearing, shall be foreclosed from

seeking any review of the Agreement by appeal or other means, shall be deemed to have waived

his, her, or their objections, and shall be forever barred from making any such objections in the

Action. All members of the Class or the California Subclass, except those members of the Class

or California Subclass who submit timely Requests for Exclusion, will be bound by all

determinations and judgments in the Action, whether favorable or unfavorable to the Class or the

California Subclass.

Final Approval Hearing
                                                                April 28, 2025 at 2:30 p.m.
       31.    The Court will hold a Final Approval Hearing on _____, 2024 at __ (Eastern time),
             TBD
in Courtroom 520 at the United States District Court for the Southern District of New York at the

Hon. Charles L. Brieant Jr. Federal Building and U.S. Courthouse, 300 Quarropas St., White

Plains, NY 10601-4150 or at such other date, time and place (including by videoconference) later

set by Court Order. At the Final Approval Hearing, the Court will, among other things:



                                                  Page 9
    Case
     Case7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                              Document79-1
                                       82                 Filed
                                                          Filed 09/03/24
                                                                08/01/24      Page
                                                                              Page 10
                                                                                   65 of
                                                                                      of 12
                                                                                         104




(a) determine whether the Settlement should be finally approved by the Court as fair, reasonable,

and adequate, and in the best interests of the Class and the California Subclass; (b) determine

whether judgment should be entered pursuant to the Settlement, dismissing this Action with

prejudice and releasing all Released Claims; (c) determine whether the Class and California

Subclass should be finally certified; (d) rule on Class Counsel’s motion for attorneys’ fees and

expenses; (e) consider any properly filed objections; and (f) consider any other matters necessary

in connection with the final approval of the Settlement.
                                 twenty-one (21)
       32.    By no later than fourteen (14) calendar days prior to the Final Approval Hearing,

the Parties shall file any motions for final settlement approval, including any responses to any

objections that are submitted. By no later than thirty (30) calendar days prior to the Objection

Deadline, Plaintiffs and Class Counsel shall file their motion for attorneys’ fees, expenses, and a

class representative service award. Promptly after they are filed, these document(s) shall be posted

on the Settlement Website.

       33.     Only the Parties and Class Members and California Subclass Members who have

submitted timely and valid objections, in accordance with the requirements of this Order, may be

heard at the Final Approval Hearing.

       34.     If the Settlement, including any amendment made in accordance therewith, is not

finally approved by the Court or shall not become effective for any reason whatsoever, the

Settlement and any actions taken or to be taken in connection therewith (including this Order and

any judgment entered herein), shall be terminated and shall become null and void and of no further

force and effect except for (a) any obligations to pay for any expense incurred in connection with

notice and administration as set forth in the Settlement, and (b) any other obligations or provisions

that are expressly designated in the Settlement to survive the termination of the Settlement.



                                              Page 10
    Case
     Case7:22-cv-09341-PMH
           7:22-cv-09341-PMH Document
                              Document79-1
                                       82                  Filed
                                                           Filed 09/03/24
                                                                 08/01/24       Page
                                                                                Page 11
                                                                                     66 of
                                                                                        of 12
                                                                                           104




       35.     Other than such proceedings as may be necessary to carry out the terms and

conditions of the Settlement, all proceedings in this Action are hereby stayed and suspended until

further order of this Court.

       36.     The Agreement and any and all negotiations, documents, and discussions

associated with it, will not be deemed or construed to be an admission or evidence of any violation

of any statute, law, rule, regulation, or principle of common law or equity, or of any liability or

wrongdoing, by Defendants, or the truth of any of the claims, and evidence relating to the

Agreement will not be discoverable or used, directly or indirectly, in any way, whether in the

Action or in any other action or proceeding, except for purposes of demonstrating, describing,

implementing, or enforcing the terms and conditions of the Agreement, this Order, and the Final

Judgment and Order of Dismissal.

       37.     If the Settlement is terminated or final approval does not for any reason occur, the

stay will be immediately terminated. If the Settlement is not approved or consummated for any

reason whatsoever, the Settlement and all proceedings in connection with the Settlement will be

without prejudice to the right of Defendants or the Class Representatives to assert any right or

position that could have been asserted if the Agreement had never been reached or proposed to the

Court. In such an event, the Parties will return to the status quo ante in and the certification of the

Class and California Subclass will be deemed vacated. The certification of the Class or California

Subclass for settlement purposes, or any briefing or materials submitted seeking certification of

the Class or California Subclass, will not be considered in connection with any subsequent decision

in this court or on appeal.

       38.     Pending the final determination of whether the Settlement should be approved, any

member of the Class or the California Subclass is hereby enjoined from filing any class action, or



                                               Page 11
Case 7:22-cv-09341-PMH   Document 82   Filed 09/03/24   Page 12 of 12
